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                  Mdl#                                       Case
1       2:12cv00192           Hagans, Wendy
2       2:12cv00265           Jackson, Doris
3       2:12cv00379           Shively, Teri Key & Johnny
4       2:12cv00401           Dimock, Carol
5       2:12cv00470           Olson, Mary Jane & Daniel
6       2:12cv00487           Ashby, Pamela & Louis
7       2:12cv00510           Miracle, Charlene
8       2:12cv00511           Williams, Nancy
9       2:12cv00736           Daniell, Karen & Thomas
10      2:12cv00740           Tate, Stephanie L. & Bryan
11      2:12cv00747           Drake, Karyn & Douglas
12      2:12cv00809           McGrath, Laurie
13      2:12cv00854           Ballard, Ramona & Larry
14      2:12cv00863           Gunter, Dorothy S. & Billy Ray
15      2:12cv00873           Walker, Shirley & Roosevelt
16      2:12cv00880           Massey, Donna & Charles
17      2:12cv01006           Rosas, Earlene
18      2:12cv01147           Hester, Maria & Chris
19      2:12cv01150           Warmack, Roberta & Thomas
20      2:12cv01206           Holmes, Jeanie & Michael
21      2:12cv01294           Herrera-Nevarez, Rocio
22      2:12cv01299           Destefano-Raston, Dina & Terry Raston
23      2:12cv01367           Glasgow, Carol
24      2:12cv01470           Pocztowski, Debra
25      2:12cv01486           Ford, Deborah & Blowers, Donald
26      2:12cv01534           Smith, April & John
27      2:12cv01635           Helton, Connie & Jasper
28      2:12cv01640           Perez, Leezel & Jeffrey
29      2:12cv01643           Skeens, Julie & Jimmy
30      2:12cv01650           Guffey, Gail
31      2:12cv01660           Cooper, Jennifer & Dave
32      2:12cv01696           Miller, Mona
33      2:12cv01736           Rhodes, Rebecca & Scott
34      2:12cv01753           Slade, Sebrina & Eric
35      2:12cv01767           Karlsson, Valerie
36      2:12cv01818           Zutovsky, Linda & Leonard
37      2:12cv01829           Hemingway, Veda & Gary
38      2:12cv01832           Gray, W&a
39      2:12cv01962           Young-Poole, Brenda
40      2:12cv02071           Heddle, Bridget
41      2:12cv02073           Hern&ez, Toni
42      2:12cv02125           Doucette, Karen
43      2:12cv02132           Ursini, Tara
44      2:12cv02139           McCann, Marlene
45      2:12cv02140           Messina, Lartiza & John
46      2:12cv02143           Phillips, Ramona
47      2:12cv02182           Howell, Santa M
48      2:12cv02185           Martin, Patricia & Dennis
49      2:12cv02189           Pieper, Laura & Mike
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                  Mdl#                                      Case
50      2:12cv02191           Ramirez, Angelia & Manuel
51      2:12cv02193           Sequino, Dawn & David
52      2:12cv02198           Ward, Mary & Jeffrey
53      2:12cv02265           Kustes, Norma J. & James
54      2:12cv02300           Wilcox, Barbara A. & Joseph R.
55      2:12cv02308           Pendleton, Merry, et al.
56      2:12cv02331           Tullier, Christina
57      2:12cv02374           Van Wyck, Helen
58      2:12cv02381           Warren, Patricia
59      2:12cv02475           Arnette, Rhonda & Anthony
60      2:12cv02509           Hatfield, Barbara
61      2:12cv02512           Madding, Linda
62      2:12cv02521           Wright, Norma & Ted
63      2:12cv02575           Hunt, Dorothy
64      2:12cv02606           King, Gayle
65      2:12cv02642           Williamson, Tabitha
66      2:12cv02669           Webb, Robin & Jack
67      2:12cv02697           Bracto, Shelia L.
68      2:12cv02819           Brusseau, Lottie & Edward
69      2:12cv02829           Hill, Kimberly
70      2:12cv02943           Blake, Kathy
71      2:12cv02960           Usey, Trudy M. & Dale R.
72      2:12cv02971           Fields, Janice & Don
73      2:12cv03043           Sergent, Sandra & Kenneth
74      2:12cv03093           Ludwig, Lori & Mark
75      2:12cv03123           Webb-Henson, Tammy
76      2:12cv03125           Holland, Jeannie
77      2:12cv03148           Powell, Claudia
78      2:12cv03159           Dorgan, Madenna K. & Richard
79      2:12cv03227           Ocker, Carol
80      2:12cv03295           Spencer, Tanya
81      2:12cv03475           Weaver, Tyra & Barry
82      2:12cv03520           Moss, Joyce & Eric
83      2:12cv03602           May, Bethany & Jimmy
84      2:12cv03675           Fuller, Karen S.
85      2:12cv03733           Bodah, Carole
86      2:12cv03739           Rodriguez, Judith & Benjamin
87      2:12cv03795           Godrich, Margaret & David W. K.
88      2:12cv03939           Bates, Dana & Charles
89      2:12cv03959           McLaughlin, Mary Jane
90      2:12cv04012           Hightower, Carol J.
91      2:12cv04022           Barber, Iris & Curtis
92      2:12cv04055           Plunkett, Kimberly & Jeffrey
93      2:12cv04065           Sally, Wanda C. & Robert
94      2:12cv04091           Potter, Anna & Mark
95      2:12cv04100           Dano, Autumn, et al.
96      2:12cv04170           Humbert, Anne
97      2:12cv04258           Sullivan, Pamela Ann
98      2:12cv04270           Bartley, Sharon & Larry D.


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                          Exhibit A to Notice of Intent to File

                  Mdl#                                        Case
99      2:12cv04282           Patterson, Beverly & Donald
100     2:12cv04285           Snyder, Charlene & Albert
101     2:12cv04301           Lewis, Carolyn, et al.
102     2:12cv04380           Barroso, Lisa
103     2:12cv04577           Booker, Sheila & George
104     2:12cv04583           Anderson, Joann Martha & Ronald E.
105     2:12cv04656           Carr, Emma
106     2:12cv04752           Evans, Jennifer D & Carl O.
107     2:12cv04778           Petsch, Adrienne
108     2:12cv04825           Dugas, Renee C.
109     2:12cv04837           Lane, Connie L.
110     2:12cv04852           Latham, Nona Lucinda & Teddy Dale
111     2:12cv04945           Presley, Wanda
112     2:12cv04946           Fahlberg, Barbara & Herbert Joe
113     2:12cv05029           Paape, Sarina Catherine & Rickey
114     2:12cv05173           Goodwin, Holly Rose
115     2:12cv05178           Howell, Janice & Doc
116     2:12cv05179           Henry, Deborah
117     2:12cv05191           Cox, Shirley & R&all
118     2:12cv05211           Johnson, Sheryl L.
119     2:12cv05224           Rivera, Linda Marie & Ruben
120     2:12cv05231           Solitto, Victoria R. & Stephen J.
121     2:12CV05258           Spada, Jamie
122     2:12cv05379           Smith-McDuffie, Katherine & Samuel
123     2:12cv05394           Martin, Darlene & Glenn
124     2:12cv05428           Blum, Marsha Ann
125     2:12cv05459           Tolin, Nancy Claire & Joe E.
126     2:12cv05462           Erickson, Jennifer & Corey
127     2:12cv05480           Cottrell, Tammy & R& A.
128     2:12cv05523           Coake, Hope
129     2:12cv05527           Weger, Alice
130     2:12cv05615           Mercer, Carrie Marie & Richard
131     2:12cv05686           Beatrice, Ninia D. & Anthony
132     2:12cv05701           Woolley, Tauna R.
133     2:12cv05878           Sandoval, Annie L. & Robert A.
134     2:12cv05970           Hendrickson, Tana L. & Darrell
135     2:12cv06022           Schario, Carol Ann
136     2:12cv06120           Sweigert, Barbara A. & Reynold E.
137     2:12cv06140           Thompson, Lissa
138     2:12cv06216           Lenderman, Mary & James, Sr.
139     2:12cv06217           Jennings, Iris A. & Michael
140     2:12cv06218           Wood, Mary L.
141     2:12cv06358           O'Dell, Joyce
142     2:12cv06397           Miller, Yvonne & Howard
143     2:12cv06409           Scuderi, Lynn A.
144     2:12cv06428           Carman, Roxanne
145     2:12cv06438           Wells, Stephanie & Larry
146     2:12cv06529           Hickerson, Mary Ann & Thomas
147     2:12cv06534           Woodie, Renee & Keith Cummings


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                          Exhibit A to Notice of Intent to File

                  Mdl#                                       Case
148     2:12cv06655           Bates, Susan E.
149     2:12cv06692           Price, Linda Ann
150     2:12cv06739           Collier, Sheri & Robert
151     2:12cv06823           Conrath, Patrice & Michael
152     2:12cv06844           Wright, Rebecca
153     2:12cv07037           Sciumbata, Teresa & Giuseppe
154     2:12cv07046           Robles, Jeannette
155     2:12cv07047           Ladner, Mary A.
156     2:12cv07066           Riley, Martha L.
157     2:12cv07124           Devera, Maria Elizabeth & Dennis Ababan
158     2:12cv07136           Sides, Janene & David
159     2:12cv07138           Keaton, Patricia & Ricky
160     2:12cv07166           Miller, Debra
161     2:12cv07279           Rife, Darlene Patricia & Buddy Lee
162     2:12cv07294           Torres, Brenda C. & Alex&er Treto
163     2:12cv07304           Simpson, Patricia S. & Lloyd
164     2:12cv07362           Gilyana, Larissa & Calvin
165     2:12cv07370           Levine, Patricia & David
166     2:12cv07423           Rabun, Yovante & Anthony
167     2:12cv07481           Thorson, Rachel & James
168     2:12cv07507           Buckler-Dollins, Jo Ann & Michael O.
169     2:12cv07538           Grindle, Marcia A. & Charles S.
170     2:12cv07643           Miller, Yvonne
171     2:12cv07718           Conrad, Toni Jo
172     2:12cv07813           Patton, Yelandra
173     2:12cv07837           Fann, Carrie M.
174     2:12cv07857           Felps, Diana Mouhot & Norwood
175     2:12cv07900           Lujan, Lisa & James
176     2:12cv07969           Gaunt, Dawn & Roger L.
177     2:12cv07976           Wethal, Mary
178     2:12cv07982           Halstead, Susan & J. Wesley
179     2:12cv08015           Stern, Tina
180     2:12cv08032           Beaman, Gloria & Gregory N.
181     2:12cv08034           Rosen, Samantha & Leonard
182     2:12cv08076           Davis, Mortisha & Keith
183     2:12cv08083           McCumber, Betty Linton
184     2:12cv08152           Hymas, Kathy P. & Kim
185     2:12cv08155           Johnson, Victoria L.
186     2:12cv08172           Vaughn, Kristy E. & Terry Lynn
187     2:12cv08308           Elliot, Shelia H. & Lawrence W.
188     2:12cv08356           Taylor, Tammy & Dan
189     2:12cv08360           Foster, Holly J.
190     2:12cv08366           Sherman, Judy R.
191     2:12cv08391           Howard, Jo Ann
192     2:12cv08429           Craven, Linda J. & Scott A.
193     2:12cv08644           McCoy, Cathy
194     2:12cv08652           Norman, Yolanda
195     2:12cv08660           Montoya, Rebecca & Lee
196     2:12cv08673           Vinar, Kimberly Holland


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                  Mdl#                                        Case
197     2:12cv08677           Welch, Tammy & Edward, Jr.
198     2:12cv08693           Jones, Mary Louise
199     2:12cv08713           North, Rosamond
200     2:12cv08745           Scott, Ima & James
201     2:12cv08764           Powell, Tonya & Michael
202     2:12cv08790           Citrano, Elaine
203     2:12cv08793           Brock, Irene & Charlie
204     2:12cv08798           Durham, Beth
205     2:12cv08886           Bowman, Brandy
206     2:12cv08920           Brown, Kelly L. & Dennis
207     2:12cv08922           Dwyer, Susan & Michael
208     2:12cv08924           Gilsdorf, Roi L. & Eddie Garcia
209     2:12cv08928           Ward, Karrie A. & Paul
210     2:12cv08943           Alaniz, Emestina
211     2:12cv09034           Jacobs, Patricia
212     2:12cv09041           McCormack, Debra
213     2:12cv09094           Lee, Heidi
214     2:12cv09100           Flaherty, Kim M. & Kevin
215     2:12cv09154           Weiers, Susan & Fenton
216     2:12cv09220           Endsley, Rebecca Lynn & Eddie Dwayne
217     2:12cv09230           Coleman, Jeannette & Hilbert
218     2:12cv09251           Clark, Marabeth & Joey
219     2:12cv09270           Pope, Lorrain June
220     2:12cv09309           Pegorch, Tammy & Frank
221     2:12cv09322           Robinson, Jill
222     2:12cv09354           Howard, Maggie & John P.
223     2:12cv09385           Gronau, Lucinda & Martin
224     2:12cv09391           Mullen, Cathy & Douglas
225     2:12cv09461           Rindler, Michelle & Gary
226     2:12cv09463           Martinez, Iris & Adam
227     2:12cv09487           Harrell, Paula & Michael
228     2:12cv09490           Marston, Susan & Dale
229     2:12cv09500           Cass, Mary & Terry Lee
230     2:12cv09611           Anselmo, Tina M. & John
231     2:12cv09654           Harkness, Linda M. & Wayne
232     2:12cv09681           Seaman, Carey & Brian
233     2:12cv09732           Duvall, Tammy & Kenneth
234     2:12cv09757           Anderson, Patty & Carl
235     2:12cv09799           Hunt, Nicole
236     2:12cv09810           Moreland, Staci & Dale
237     2:12cv09894           Lachcik, Karen & Louis W.
238     2:12cv09896           Lopez, Dixie
239     2:13cv00051           Frescott, Ruth E.
240     2:13cv00144           Miller, Julie
241     2:13cv00150           Schulke, Cindi
242     2:13cv00182           Domnick, Yohlanda
243     2:13cv00222           Fenceroy, Audrey & Johnny
244     2:13cv00286           Rihm, Nancy & Kenneth
245     2:13cv00367           Sacre, Candace


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                  Mdl#                                       Case
246     2:13cv00421           Miller, Cheryl & James
247     2:13cv00426           Hedlin, Vicky Lynn
248     2:13cv00497           Atwood, Lisa & James
249     2:13cv00505           Graham, Deborah
250     2:13cv00715           Sanner, Barbara Lynn
251     2:13cv00718           Gillespie, Laurie & Davis
252     2:13cv00743           Rohrer, Nanette & Jeffrey
253     2:13cv00756           Hinson, Kemthia & James
254     2:13cv00766           Yeagle, Denise Alison & Jason
255     2:13cv00776           Fields, Mary & Michael
256     2:13cv00795           Boone, Joan Estelle & Barry S.
257     2:13cv00806           Friedrich, Linda & David
258     2:13cv00841           Billups, Lashawn
259     2:13cv00855           Shepherd, Linda
260     2:13cv00868           Smith, Sharon & John
261     2:13cv00951           Hogan, Rebecca
262     2:13cv01042           Rewis, Barbara
263     2:13cv01167           Wyatt, Joanne & Thomas
264     2:13cv01208           Pickford, Angela & Keith
265     2:13cv01284           Hoffman, Joyce
266     2:13cv01286           Walker, Marilynn
267     2:13cv01332           Czerwonka, Kathleen A. & John
268     2:13cv01358           Steiger, Rebecca & Robert
269     2:13cv01360           Diaz, Hilda & Danial
270     2:13cv01364           Factor, Irene & Mark
271     2:13cv01489           Lustri, Susan
272     2:13cv01663           Bowman, Gisela & Michael
273     2:13cv01682           Berry, Stacy & Brain Keith
274     2:13cv01686           Hooper, Linda F.
275     2:13cv01702           Horner, Teresa & Steven
276     2:13cv01827           Ziegler, Renae B.
277     2:13cv01847           Crouch, Roxanna L. & Daniel
278     2:13cv01956           Curl, Susan C. & William D.
279     2:13cv01979           Burke, Mary
280     2:13cv02010           Tiberi, Darlene & Michael
281     2:13cv02023           Vahldick, Regina & Quintin
282     2:13cv02044           Prince, Linda
283     2:13cv02069           McCormack, Lourdes & John
284     2:13cv02073           Guayante, Trinity & Paul Haight
285     2:13cv02158           McBride, Susan Louise
286     2:13cv02178           Scott, Jerry D. & Don
287     2:13cv02318           Bentzinger, Tamara P. & Chris
288     2:13cv02319           Bloomfield, Linda S. & John
289     2:13cv02320           Brock, Lois M.
290     2:13cv02511           George, Nora
291     2:13cv02598           DeWitt, Theresa
292     2:13cv02625           Cathey, Arlene
293     2:13cv02651           Hanrihan, Gaynel & James
294     2:13cv02672           Gilbert, Deanna


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                  Mdl#                                       Case
295     2:13cv02694           Rice, Suzette & Matthew
296     2:13cv02759           Westfall, Nancy K.
297     2:13cv02829           Kuss, Tina S.
298     2:13cv02868           Kean, Ruby L.
299     2:13cv02873           Jackson, Vicki & Bruce
300     2:13cv02911           Palmer, Debbie
301     2:13cv02963           Burton, Linda
302     2:13cv02973           Harper, Kadie Azevedo & Kevin
303     2:13cv02985           Djuric, Cynthia D.
304     2:13cv03084           Jude, Jennifer
305     2:13cv03154           Fowler, Linda & Jesse Fowler, Jr.
306     2:13cv03162           Panchot, June
307     2:13cv03163           Stecher, Sharon
308     2:13cv03166           Ashton, Barbara & Rex
309     2:13cv03169           Currier, Sheri
310     2:13cv03206           Allwood, Barbara & Jerry
311     2:13cv03217           Boyd, Rosalind & Thaddeus Leon
312     2:13cv03218           Tyra, Jean & Gerald
313     2:13cv03258           Bennett, Carin
314     2:13cv03283           Archuleta, Debra
315     2:13cv03288           Howell, Donna & Christopher
316     2:13cv03394           Yancer, Belinda L.
317     2:13cv03411           Helgeson, Doris & Edwin
318     2:13cv03486           Helm, Shelley & Daniel
319     2:13cv03494           Eldfrick, Rhonda L.
320     2:13cv03597           Brooks, Christina & David
321     2:13cv03632           Haller, Tawny & Michael
322     2:13cv03636           Medina, Margie & Pablo
323     2:13cv03638           Moran, Jane & Ralph
324     2:13cv03640           Szwajkowski, Gloria & William
325     2:13cv03736           Fountain, Joyce & Lonnie
326     2:13cv03741           Bowman, Hettie
327     2:13cv03783           Morris, Christy & Lorenzo
328     2:13cv03820           Casiday, Judy L.
329     2:13cv03832           Joy, Roxanne & James
330     2:13cv03915           Rivas, Deborah
331     2:13cv03933           Gant, Earnestine & Willie
332     2:13cv03951           Zollman, Gloria & Terry
333     2:13cv04029           Wetherell, Oleta F.
334     2:13cv04034           Jefford, Marriane & Garry
335     2:13cv04135           Jones, Lorrie & Daniel
336     2:13cv04141           Renfrow, Maria A.
337     2:13cv04248           Blee, Rochelle
338     2:13cv04260           Varela, Janiece & Michael E.
339     2:13cv04268           Jackson, Rose & Marc
340     2:13cv04338           Crom, Peggy J.
341     2:13cv04344           Highsmith, Tammy & Charles
342     2:13cv04395           Danis, Marjorie
343     2:13cv04429           Lisek, Gail


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                  Mdl#                                    Case
344     2:13cv04452           Adams, Anna
345     2:13cv04501           Swanger, Susan
346     2:13cv04634           Brown, Cheryl & Johnnie R.
347     2:13cv04651           Webb, Carol & Jimmy
348     2:13cv04723           Miller, Amanda & Richard
349     2:13cv04742           Dube, Nancy
350     2:13cv04774           Lang, Marva & Delbert
351     2:13cv04775           White, Orpha
352     2:13cv04788           Haris, Karoll S.
353     2:13cv04845           Banks, Sylvia & Paul
354     2:13cv04863           Brown, Mary Ann & Mark
355     2:13cv04991           Hession, Pamela & Brian
356     2:13cv05071           Fritz, Diane
357     2:13cv05084           Contino, Jeanine & Joseph
358     2:13cv05191           Walenta, Ruth Ellen
359     2:13cv05213           Childress, Cindy A. & Mark
360     2:13cv05250           Rowland, Kimberly Lynn
361     2:13cv05303           Felts, Karen & Wallace
362     2:13cv05317           Papineau, Rose & Michael Andrew
363     2:13cv05330           Rivera, Alberta & John
364     2:13cv05346           Willis, Beth & Kevin
365     2:13cv05411           Andrews, Donna J.
366     2:13cv05414           Butler, Colette
367     2:13cv05460           Moore, Deborah Ann & William
368     2:13cv05674           Busey, Carolyn
369     2:13cv05677           Harris, Connie
370     2:13cv05693           Horne, Tammy & Patrick
371     2:13cv05770           Hartwell, Allison R.
372     2:13cv05834           Cash-Hazlewood, Cynthia & Keith
373     2:13cv05863           Spiegelhoff, Antoinette R.
374     2:13cv05937           McKee, Sheila & Joseph Kovach
375     2:13cv05974           Flinn, Patricia & Daniel
376     2:13cv05978           Rodriguez, Margaret
377     2:13cv06031           Rhodes, Darby C. & G. Roger
378     2:13cv06068           Covey, Carolyn & Roy
379     2:13cv06111           Baquera, Maria & Ruben
380     2:13cv06153           Vann, Barbara
381     2:13cv06157           Areas, Maria Goretti & Maximo
382     2:13cv06200           Crowder, Brenda & David
383     2:13cv06203           Mason, Henrietta & Harry
384     2:13cv06331           Kelly, Bertha
385     2:13cv06336           Greenlief, Kimberly
386     2:13cv06362           Sago, Tammy & Kevin
387     2:13cv06393           Cook, Michelle & James
388     2:13cv06394           Daulton, Dianna
389     2:13cv06423           Augliera, Carol
390     2:13cv06538           Oldham, Erin
391     2:13cv06546           Hartman, Shirley
392     2:13cv06558           Seymour, Deborah


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                  Mdl#                                       Case
393     2:13cv06571           Capes, Serita
394     2:13cv06625           Gatsoulas, Elaine & George
395     2:13cv06628           Jones, Sharron & Edward
396     2:13cv06635           Darling, Patricia & Jack
397     2:13cv06638           Gasho, Laura & Edmond
398     2:13cv06670           Yates, Sharon M.
399     2:13cv06694           Stuchel, Andrea Denise & Donald E.
400     2:13cv06720           Bivins, Frances
401     2:13cv06770           Quintana, Sandra M. & Armando
402     2:13cv06810           Harper, Debra & Johnny
403     2:13cv06880           Coe, Tammy & Kenneth
404     2:13cv06914           Ross, Cynthia & Ken
405     2:13cv06979           Creel, Sandra Jean
406     2:13cv07005           Burton, Traci & Mark
407     2:13cv07043           Aldrich, Cynthia
408     2:13cv07059           Goodyear, Deborah & Donald
409     2:13cv07220           Lara, Kristine
410     2:13cv07267           Remynse, Linda A.
411     2:13cv07399           Buchs, Teresa
412     2:13cv07461           Pope, Paula & James
413     2:13cv07485           Green, Kristie & Stephen
414     2:13cv07507           Huston, Marilyn & Allen
415     2:13cv07544           Kilby, Lowanda & Rodney, Sr.
416     2:13cv07555           Kaderly, Diana M.
417     2:13cv07560           Pacheco, Carole A.
418     2:13cv07721           Robinson, Sandra
419     2:13cv07806           Crook, Sharon & Curtis
420     2:13cv07834           Spurling, Lisa
421     2:13cv07923           Loon, Sheree Ann
422     2:13cv07935           Neel, Lisa & Shannon W.
423     2:13cv07939           Dailey, Edith
424     2:13cv07982           Spence, Joan & Roger D.
425     2:13cv07998           Reed, Cheryl
426     2:13cv08050           Webster, Laura
427     2:13cv08070           Sanderford, Carol Lynn
428     2:13cv08186           Richter, Sharon & John
429     2:13cv08214           Ray, Melinda & James
430     2:13cv08259           Trivett, Donna
431     2:13cv08266           Soles, Linda & Roger
432     2:13cv08482           Taylor, Gloria Jean
433     2:13cv08509           Richardson, Marcella
434     2:13cv08569           Free, Christy & Claude
435     2:13cv08609           Bean, Tammy & Kristopher
436     2:13cv08690           Roman, Pamela & Stephen
437     2:13cv08730           Johnson, Cheryl
438     2:13cv08835           Robinson, Karen
439     2:13cv08851           Peridore, Courtney & Linsy
440     2:13cv08936           Maffettone-Kotajarvi, Toni L. & Mark Kotajarvi
441     2:13cv09108           Sayer, Roni & Lon


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442      2:13cv09131           Eshelman, Danyell
443      2:13cv09148           Jeremiah-Neal, Cheryl & Herman Neal
444      2:13cv09246           Ervin, Cynthia aka Cindy DeCoster
445      2:13cv09247           Kinard, Deborah & John
446      2:13cv09314           Nutter, Jacqueline
447      2:13cv09361           Ward, Mary & Jeffrey
448      2:13cv09477           Hanna, Shirley Ann & Clyde
449      2:13cv09480           Cerasaro, Bonita & Peter
450      2:13cv09529           Hill, Mollie M.
451      2:13cv09538           McDowell, Rebecca A.
452      2:13cv09541           Pensgen, Barbara
453      2:13cv09550           Simone, Susan A
454      2:13cv09602           Barron, Lynda & Jerald
455      2:13cv09610           Lundy, Doris
456      2:13cv09683           Murphy, Joni A. & Leroy W.
457      2:13cv09684           Tardio, Lynn & David
458      2:13cv09690           Hensel, Janet Gail & Robert
459      2:13cv09831           Grissom, Mary T.
460      2:13cv09896           Dottore, Sandra & Anthony
461      2:13cv10025           Reeder-Dillon, Sally
462      2:13cv10142           Harper, Mary
463      2:13cv10150           Oxley, Nancy
464      2:13cv10206           Rooney, Karen & Richard
465      2:13cv10341           Kemp, Catherine C. & Peter L.
466      2:13cv10397           Wickman, Robin C. & Richard J.
467      2:13cv10401           York, Paulette L. & Ricky J.
468      2:13cv10422           Atkins, Monica L. & Michael D.
469      2:13cv10438           Rollwagen, Cheryl
470      2:13cv10488           Walker, Susan & Douglas
471      2:13cv10515           Gilbert, Sharon L.
472      2:13cv10518           Holder, Sabrina L.
473      2:13cv10540           Webb, Mildred & Clinton H. Mitchem
474      2:13cv10546           Paysen, Alicia
475      2:13cv10559           Biehl, Lori Ann
476      2:13cv10633           Slusher, Veronice & R&all
477      2:13cv10849           Murry, Kimberley K.
478      2:13cv10852           Rada, Deborah D. & John O.
479      2:13cv10892           Cushing, Jacqueline & Michael
480      2:13cv10918           Hyde, Mary & Bobby
481      2:13cv10936           Walker, Delores & Durant Conley
482      2:13cv10962           Alcaraz, Susan & Elias
483      2:13cv10974           Cathey, Cassandra
484      2:13cv10987           Humphries, Wanda A.
485      2:13cv11008           Milner, Mary Ellen & David R.
486      2:13cv11032           Larsen, Denise M. & Robert
487      2:13cv11054           Shepherd, Tami Nan & Ronald
488      2:13cv11291           Broach-Tyler, Alice
489      2:13cv11443           Keating, Maryann
490      2:13cv11501           Fudge, Shirley Ann & William


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                   Mdl#                                      Case
491      2:13cv11550           Stephens, Donna & Gary
492      2:13cv11692           Scott, Joyceline
493      2:13cv11741           Harris, Susan
494      2:13cv11766           Shaw, Roilene
495      2:13cv11860           Risdon, Laura & John
496      2:13cv11997           Wheeler, Laura
497      2:13cv12027           Marlow, Vicky
498      2:13cv12059           Wellman, Sheryl
499      2:13cv12091           Carrico, Dianna
500      2:13cv12117           Jones, Kristie & Joshua
501      2:13cv12244           Brock, Pauline
502      2:13cv12339           Lenze, Marlene
503      2:13cv12359           Reed, Denise Teresa & Charles D.
504      2:13cv12374           Lackey, Rosalee
505      2:13cv12379           Perryman, Hope R.
506      2:13cv12394           Tucker, Sharon
507      2:13cv12521           Watson, Tommie & Steve
508      2:13cv12525           Geriets, Beverly & Jody
509      2:13cv12591           Satterfield, Mary Anne & Alton E.
510      2:13cv12773           Taylor, Dianne
511      2:13cv12821           Andrews, Tabitha & Thomas
512      2:13cv12855           Woodward, Theresa & Jack
513      2:13cv12938           McCarty, Dianna & Kevin P.
514      2:13cv12976           Cox, Wendy
515      2:13cv12984           Hill, Barbara
516      2:13cv13072           Rixie, Tina
517      2:13cv13178           Asante, Munda
518      2:13cv13194           West, Roberta Ann
519      2:13cv13201           Sanders, Peggy S.
520      2:13cv13528           Binns, Donna L.
521      2:13cv13768           Gallert, Sharon & James
522      2:13cv13808           Coon, Lisa & Richard
523      2:13cv13851           Akinsanyam, Janice A. & Musbau O.
524      2:13cv14254           Hayes, Cynthia L.
525      2:13cv14382           Safranek, Deborah & Hicks, David Matthew
526      2:13cv14383           Young, Terri Y.
527      2:13cv14447           Fisher, Vicki & Gary
528      2:13cv14596           Wolfenbarger, Patricia & David
529      2:13cv14643           Clementson, Linda L.
530      2:13cv14674           Perry, Univa & Shane
531      2:13cv14767           Power, Shirley
532      2:13cv14793           Trimpe, Jennifer R.
533      2:13cv14842           Tirey, Andrea Ann & Jack Lee
534      2:13cv14876           Adams, Janet Jackson
535      2:13cv15009           Speer, Carolyn
536      2:13cv15148           Harphant, Bethel & Glen
537      2:13cv15190           Fontes, Eva & Carlos
538      2:13cv15280           Hand, Susan C. & Daniel S.
539      2:13cv15316           Hernandez, Maria


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                   Mdl#                                       Case
540      2:13cv15523           Anderson, Linda
541      2:13cv15536           Crouse, Deborah J. & Richard R.
542      2:13cv15544           Harris, Brenda K.
543      2:13cv15586           McVicker, Helen & William
544      2:13cv15625           Stilwell, Lynetta & Guy
545      2:13cv15759           Sea, Patti & Manuel
546      2:13cv16028           Hill, Alice & Andrew
547      2:13cv16029           Hodges, Kamber-Leigh
548      2:13cv16194           Hammond, Pauline & Larry
549      2:13cv16207           Adams, Debra
550      2:13cv16270           Ouimette, Susan M.
551      2:13cv16281           McMahon, Mary & Mac Intire, Frank
552      2:13cv16335           Termini, Rosa & Charles
553      2:13cv16524           Parks, Dionicia & Earl
554      2:13cv16527           Smith, Kristi
555      2:13cv16770           Taylor, Lee Anna
556      2:13cv17186           Lenahan, Lydia & Jeffrey Mark
557      2:13cv17351           Martin, Kathy Ann
558      2:13cv17377           Hood, Deborah A. & Bernard, Jr.
559      2:13cv17418           Friedrich, Sheila R.
560      2:13cv18073           Meeks, Carolyn P.
561      2:13cv19509           Day, Mary
562      2:13cv19589-          Owens, Nell & Waverly
563      2:13cv19937           Siegfried, Patricia & Andrew B.
564      2:13cv19959           Biggs, Felicia
565      2:13cv20311           Barron, Elizabeth & Danny R.
566      2:13cv20894           Turey, Lori
567      2;13cv13232           Wilson, Wendy & Richard
568      4:12cv00141           Wilkins, Mary




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